Case 3:19-cv-00997-BJD-MCR Document1 Filed 08/26/19 Page 1 of 13 PagelID 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

 

 

 

 

 

TALLAHASSEE DIVISION CED omg
Bei
\ 42 U.S.C. § 1983 CIVIL RIGHTS COMPLAINT no. .
| WITH DEMAND FOR JURY TRIAL Kee oN _—
ters oy j
fob
me Ee C
PERRY BROWN, ane 3
Plaintiff, SEE
VS. CASE NO: 2:19-=CVAIVI ~~ SMR
MARK INCH, Secretary TERESA WOODAL,
Department of Corrections Infectious Disease Control, II,
Defendant #1 Defendant #8
CORIZON, LLC. DOCTOR E. PEREZ-LUGO, CHO
Defendant #2 Corizon & Centurion
Defendant #9
CENTURION OF FLORIDA, LLC DOCTOR E. L. TOLEDO, CHO
Defendant #3 Centurion's Doctor
Defendant #10
WOODROW A. MYERS, JR. JULIE JONES, Past Secretary,
Chief Operating Officer, Department of Corrections
Defendant #4 Defendant #11
DOCTOR ERRON CAMPBELL THOMAS REIMERS,
Medical director Health Services Director
Defendant #5 Defendant #12
RHONDA ALMANZA DANIJEL CHERRY,
Vice-President of Operations, Former Medical Director FDC
Defendant #6 Defendant #13
HELEN SNEED
Director Of Operations, Region II
Defendant #7

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(1)

II.
(1)

(2)

(3)

PLAINTIFFS

Name of Plaintiff:
Inmate Number:

Prison or Jail:
Mailing Address:

DEFENDANTS

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Perry Brown
#044515
Union Correctional Institution

P.O. Box 1000
Raiford, Florida 32083

MARK INCH,

Secretary

Department of Corrections
501 S. Calhoun Street
Tallahassee, Fla. 32399-2500

Official Capacity

CORIZON HEALTH, Inc.

Former Contract Medical Provider For The FDC
Corizon Health, Inc.

12647 Olive Blvd.

St. Louis, Mis. 63141

 

Official Capacity

CENTURION Of FLORIDA, LLC
Current Contract Medical Provider For The FDC

 

Paddock Park Prof. Bldg.
3200S.W. 34" Ave. Bldg. 700, Suite 701
Ocala, Fla. 34474

Official & Individual Capacity

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(4)

(5)

(6)

(7)

(8)

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

WOODROW A. MYERS, JR. *
Official position: Chief Operating Officer,

 

103 Powell Ct.
Brentwood, Tn. 37027

Individual Capacity

ERRON CAMPBELL
Medical Director

18 Huntleigh Ln.
St. Louis Mo. 63131

Individual Capacity

RHONDA ALMANZA *
Vice-President of Operations, Region II

950 West Elliot
Tempe, AZ. 85284

Individual Capacity

HELEN SNEED *
Director Of Operations, Region II

2631 N.W. 33” Place,
Gainesville, Fla. 32605

Individual Capacity

TERESA WOODAL *
Infectious Disease Control

2627 N.W. 43” St. Suite 202 2™ FI.
Gainesville, Fla. 32606

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(9)

(10)

(11)

(12)

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Defendant's Name:

Official Possition:
Employed At:
Mailing Address:

Individual Capacity

E. PEREZ—LUGO

Former Chief Health Officer UCI
Centurion Of Florida, LLC.

Paddock Park Prof. Bldg.

3200S.W. 34" Ave. Bldg. 700, Suite 701
Ocala, Fla. 34474

Individual Capacity

Dr. E. L. TOLEDO

Medical Doctor

Paddock Park Prof. Bldg.
3200S.W. 34" Ave. Bldg. 700, Suite 701
Ocala, Fla. 34474

Individual Capacity,

JULIE L. JONES,

Past Secretary

Department of Corrections
501 S. Calhoun Street
Tallahassee, Fla. 32399-2500

Official Capacity

THOMAS REIMERS,

Health Services Director,
Department Of Corrections
501 S. Calhoun Street
Tallahassee., Fla. 32399-2500

Individual Capacity

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(13) Defendant's Name: DANIEL CHERRY,
Official Possition: Centurion's Former Medical Director FDC
Employed At:
Mailing Address: Paddock Park Prof. Bldg.
3200S.W. 34" Ave. Bldg. 700, Suite 701,
Ocala, Fla. 34474

Individual Capacity

Til. EXHAUSTION OF ADMINISTRATIVE REMEDIES

Exhaustion of administrative remedies is required prior to pursuing a civil rights
action regarding condition or events in any prison, jail, or detention center. 42
U.S.C.§1997e(a). Plaintiff must submit copies of all grievances, appeals, and
responses with this complaint to verify exhaustion. Failure to demonstrate
exhaustion may be grounds for dismissal.

A. The complaint does concern events occurring within the Florida
Department of Corrections.

Informal grievance is not required for medical grievances.
A Formal Grievance was filed and is attached as Appendix
A Formal Grievance Appeal was filed and is attached as Appendix
There was no disciplinary action involed.
B. This complaint does not involve a county jail.
IV. PREVIOUS LAWSUITS
NOTE FAILURE TO DISCLOSE ALL PRIOR CIVIL CASES MAY RESULT IN
THE DISMISSAL OF THIS CASE. IF YOU ARE UNSURE OF ANY CASES
YOU HAVE FILED, THAT FACT MUST BE DISCLOSED AS WELL.

A. Have you initiated other actions in state court dealing with the same or
- similar facts/issues involved in this action? NO. |

B. Have you initiated other actions in federal court dealing with the same or
similar facts/issues involved in this action? NO.

(Attach additional pages as necessary to list state court cases.)

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C. Have you initiated other actions (besides those listed above in Questions
(A) and (B)) in either state or federal court that relate to the fact or manner of your
incarceration (including habeas corpus petitions) or the conditions of your
confinement (including civil rights complaints about any aspect of prison life,
whether it be general circumstances or a particular episode, and whether it
involved excessive force or some other wrong)? NO.

D. Have you ever had any actions in federal court dismissed as frivolous,
malicious, failing to state a claim, or prior to service? If so, identify each and
every case so dismissed: NO.

STATEMENT OF FACTS

1. Plaintiff is currently incarcerated at Union Correctional Institution and at
all times relevant hereto was under the care, custody and control of the State of
Florida, Department of Corrections.

2. Based off of information and belief, Defendants Myers, Campbell,
Almanza, Sneed, Woodal, Reimers, Lugo, Toledo, and Cherry worked for the
Department of Corrections until 10/1/2012 at which time Defendant Corizon was
contracted by Defendant Jones to provide medical services. The Defendants were
hired by Corizon to provide medical treatment to inmates. In August 2016,
Defendant Centurion took over the contract and hired the defendants.

3. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry diagnosed the Plaintiff
with Hep-C but failed to provide any treatment for same even when there there was
available treatment.

4. Plaintiff is currently 62 years of age and has been incarcerated since
November 27, 2006. Plaintiff suffered from Hepatitis “C” and the disease had
escalated to such a level that Plaintiff now has decompensated cirrhosis. (£4).
Plaintiff is currently under the care of Defendant, Centurion, via Defendant Inch.

5. Plaintiff suffers with Fatigue, mild depression, joint pains, brain fog,

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swelling & pain in liver region, irrittable bowel movement, sleep disorder, and he
is constantly in fear of getting liver cancer.

6. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry would either say the
blood results look good or when the (ALT) & (AST) enzymes did rise above
normal, Plaintiff was informed they would have to remain elevated at least twice
over the normal range for two consecutive clinic reviews, before they would take
further action, but they never did.

7, On September 23, 2011, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiffs AST at 143 & his ALT at
120, both scores were high and indicated that the Plaintiff had cirrhosis (F-4).

8. On Novemeber 27, 2012, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiffs AST at 108 & his ALT at
91, both scores were high and indicated that the Plaintiff had cirrhosis (F4).

9. On September 9, 2013, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiff's AST at 60 & his ALT at 61,
both scores were high and indicated that the Plaintiff had cirrhosis (F4).

10. On August 22, 2014, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiff's AST at 55 & his ALT at 51,
both scores were high and indicated that the Plaintiff had cirrhosis (F4).

11. On February 18, 2015, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiff's AST at 60 & his ALT at 54,
both scores were high and indicated that the Plaintiff had cirrhosis (F4).

12. On January 29, 2015, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiffs ALT at 60& his AST at 75,
was high and indicated that the Plaintiff had cirrhosis (F4).

13. On May 26, 2016, a blood specimen was taken from Plaintiff to be

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evaluated, the results of this test had scored Plaintiffs ALT at 47 & his AST at 70,
which was still high and the fibrosis interpretation was that the Plaintiff had severe
cirrhosis (F 4).

14. On July 29, 2016, a blood specimen was taken from Plaintiff to be
evaluated, the results of this test had scored Plaintiff's ALT at 52 & his AST at 52,
which was still high and the fibrosis interpretation was that the Plaintiff had severe
cirrhosis (F4).

15. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry were aware of the
Plaintiff's liver being damaged but “REFUSED” to treat the Plaintiff because of
the cost of treatment. The Defendants intentional delay in providing medical
treatment caused the Plaintiff to suffere permanent injury to his liver.

16. It has been well established within the medical field, that an individual
who had been diagnosed with (HCV) that enzyme levels alone are not a good
indicator of the livers condition. In fact, a person can be completely asymptomatic
and have cirrhosis. Plaintiff was not offered treatment even when there was
treatment available.

17. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry, never did a biopsy to
determine the damage of the liver.

18. In or about 2013, a new break through drug was approved by the F.D.A.
and released to the market, Direct-acting anti-virals, known as (DAA’s). This not
only became the new standard of care for (HCV) patients, it was the cure! Its
success rate was 95% to 97% effective with very little side-affects.

19. In November of 2017, a Federal hearing was being conducted on a
preliminary injunction in a class-action case of all HCV inmates with HCV,

concerns. FDC’s policies and treatment of such, which the Court did grant and

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ordered the treatment of hundreds and eventually thousands of HCV inmate within
FDC. See Hoffer v. Jones, Case No. 4:17-CV-214-MW/CAS. After this Court
order the Defendants started to comply and were evaluating through blood-test

called a “Fibrotest,” which had been FDA approved since 2009.

 

20. Plaintiff asked Defendant physicians regarding the benefits of DAA’s
and requested treatment again. The Plaintiff was informed by Defendants Corizon,
Myers, Campbell, Almanza, Sneed, Woodal, Reimers, Centurion, Lugo, Toledo,
Jones, Inch and Cherry that he did not need treatment and by others stating that the
medical administration would not authorize treatment because of cost.

21. Plaintiff continued to request treatment at each doctors clinic from
Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal, Reimers,
Centurion, Lugo, Toledo, Jones, Inch and Cherry only to be refused for what
appears to be non medical reasons, (money) by John/Jane Doe’s (possibly by
Utilization Management (“UM”)), without the benefit of a Specialist Review.

22. Under FDC’s contract with Defendants, there were two ways that
Doctors could obtain necessary drugs for treatment. Drugs routinely prescribed
were listed on an FDC-approved list, referred to as the Formulary. Those drugs
were paid for directly by FDC. Drugs not listed on the Formulary had to be
specially requested. Specially requested drugs were paid for by Defendants
Corizon and Centurion. Such drugs required a “Drug Exception Request” (DER).
The DAA’s were not included on the Formulary.

23. While Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry were bickering over
who pays for the DAA’s, they were well aware that severe injury was continuing to
progress to Plaintiff's liver as well as the life time higher risk of future liver cancer.
Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal, Reimers,

Centurion, Lugo, Toledo, Jones, Inch and Cherry, nonetheless took no measures to

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treat Plaintiff for his serious medical need.

24. Based of of information & belief, in 2015, Defendant Mr. Reimer, the
FDC Director of Health Services Administrator, whom was responsible for
overseeing the contractors for Defendants Jones & Inch, prepared a legislative
budget request for 6.5 million to obtain DAA’s for the 2016-17 fiscal year.
However, the request never made it out of F.D.C., ie., someone (John / Jane Doe)
denied it.

25. Based on information & belief, in 2016, Defendant Reimers prepared a
second legislative budget. request for the 2017-18 fiscal year, at 29 million to
purchase (DAA’s) however, it too was denied by Defendants John / Jane Doe
within the FDC. By Mid-2016, FDC had updated its (HCV)-treatment policy to
acknowledge that prescribing DAA’s was the standard of care. It had been the
standard since 2014, but the Defendants still refused to treat the Plaintiff.

26. Plaintiff's medical file is replete with evidence of escalation of Hep “C”
and undeniable liver damage. The Defendants Policy & Practice of ignoring and
concealing the Plaintiffs medical condition from the Plaintiff in order to cover up
the need for treatment with DAA's caused damage to the Plaintiff's liver that
cannot be fixed. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry agreed upon policy
defying mandated standards of care simply because of the cost.

27. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry knew the policy defied
duty owed Plaintiff: These Defendants knew Plaintiff would not be treated because
of the cost because it is cheaper to pay a wrongful death claim then it is to pay for
the treatment for HEP-C. Nonetheless, at the time of the June 2014, FBOP-CDC
guideline treatment change, these Defendants acting under color of state law, had

in effect an agreement that infected inmates/Plaintiff would not be informed of the

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existence of DAAs, and Plaintiff would not be treated.

28. Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal,
Reimers, Centurion, Lugo, Toledo, Jones, Inch and Cherry are directly responsible
for this conduct as health care providers. Each Defendant knew the gravity of the
policy/procedure and custom of non-treatment, yet chose not to inform Plaintiff of
availability of care and not to provide Plaintiff treatment.

29. Plaintiff requested treatment from Defendants Corizon, Myers,
Campbell, Almanza, Sneed, Woodal, Reimers, Centurion, Lugo, Toledo, Jones,
Inch and Cherry and was refused per policy and custom by Defendant E. Perez-
Lugo, Dr E. L. Toledo and Thomas Reimers, FDC Director of Health Services, and
Julie L. Jones. Plaintiff was not provided the Cure for HEP-C by Defendant
Centurion until well after the decision in the Hoffer injunction, due to policy
agreed to by all of the Defendants not to provide DAA’s due to cost. Defendants
knew that the FBOP--CDC guideline change of 2014-2016, mandated that Plaintiff
receive proper evaluation and DAA’s {the Cure}.

30. Plaintiff pleads that his physical condition in total constitutes a serious
medical condition and his prior non-treatment grossly violated societal standards.
Intentional neglect and intentional delay by Defendants of Plaintiffs serious —
medical need demonstrates cruel and unusual punishment. Because of Defendants
Corizon, Myers, Campbell, Almanza, Sneed, Woodal, Reimers, Centurion, Lugo,
Toledo, Jones, Inch and Cherry deliberate indifference, a delay allowing the
disease to progress to severe fibrosis—Plaintiff now runs a lifetime risk of two—
five times greater risk of developing liver cancer. Plaintiff's pain and suffering is
on going.

VI. STATEMENT OF CLAIMS:

State what rights under the Constitution, laws, or treaties of the United States you
claim have been violated. Be specific. Number each separate claim and relate it to
the facts alleged in Section V. If claims are not related to the same basic incident

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or issue, they must be addressed in a separate civil rights complaint.

CAUSE OF ACTION ONE

Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal, Reimers,
Centurion, Lugo, Toledo, Jones, Inch and Cherry, as stated in paragraphs 1 through
29, violated the Plaintiff's 8" Amendment rights to be free from cruel and unusaul
punishment by being deliberate indifferent to his serious medical needs. The
Defendants intentionally delayed treatment for the Plaintiff's HEP-C causing
irreversible liver damage simply because of the cost of treatment.

The Defendants willfully and intentionally refused to give the Plaintiff
DAA's to treat his Hep-C until well after the class action lawsuit was settled in
Hoffer v. Jones, Case No. 4:17-CV-214-MW/CAS. If it was not for the lawsuit, the

Defendants would have let the Plaintiff die because it is cheaper in the long run.

 

VII. RELIEF REQUESTED:
State briefly what relief you seek from the Court. Do not make legal arguments or
cite cases/statutes.
COMPENSATORY DAMAGES

Plaintiff seeks compensatory damages in the amount of $300,000 dollars
from Defendants Corizon, Myers, Campbell, Almanza, Sneed, Woodal, Reimers,
Centurion, Lugo, Toledo, Jones, Inch and Cherry, jointly & severelly.

PUNITIVE DAMAGES

Plaintiff seeks punitive damages in the amount of $500,000 from Defendants
Corizon, Myers, Campbell, Almanza, Sneed, Woodal, Reimers, Centurion, Lugo,
Toledo, Jones, Inch and Cherry, jointly & severelly.

| OATH

I declare under penalty of perjury that I have read the above and have and
that the foregoing statements of fact, including any continuation pages, are true and

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correct. Dated this Of day of [pes US x , 2019

hou Bon

Perry Brown #044515

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that this document was sent to the below listed parties

by turning it over to prison authorities to be mailed by pre-paid U.S. First class

mail on this_9| _ day of _/duqu+, 2019.

Clerk of Courthouse

USS. Middle District

300 North Hogan Street
Jacksonville, Florida 32202

[ORIGINAL]

£2

Perry-Btown #044515

Union Correctional Institution
P. O. Box 1000

Raiford, Fla. 32083

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